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          In the United States Court of Federal Claims
                                          No. 16-1421C
                                    (Filed: October 18, 2017)

 **************************
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 EFFICIENT ENTERPRISE                *
 ENGINEERING, INC.,                  *
                                     *
           Plaintiff,                *
                                     *
           v.                        *
                                     *
 THE UNITED STATES,                  *
                                     *
           Defendant.                *
                                     *
 **************************
         _________________________________________________________

                               AMENDED ORDER
            _________________________________________________________

       In accordance with the parties’ corrected joint proposed schedule filed October 17, 2017,
the Court sets the following amended schedule:


       October 17, 2017             Fact discovery opens. Parties shall serve their initial
                                    disclosures.

       March 16, 2018               The Court will conduct a telephonic conference
                                    regarding the status of discovery.

       June 29, 2018                Fact discovery closes.

       July 20, 2018                Affirmative Expert Disclosures shall be served.

       August 24, 2018              Rebuttal Expert Disclosures shall be served.

       September 14, 2018           Expert discovery closes.

       October 19, 2018             Parties shall file any Motions for Summary
                                    Judgment.
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November 30, 2018     Parties shall file their oppositions to Motions for
                      Summary Judgment.

December 21, 2018     Parties shall file their replies.

April 1, 2019         Parties shall file a joint status report.




                                    s/Mary Ellen Coster Williams
                                   MARY ELLEN COSTER WILLIAMS
                                   Judge
